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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 SCHALAMAR CREEK MOBILE HOMEOWNER’S
 ASSOCIATION, INC., SHERRY ATWOOD, JAMES
 DRISKELL, PHIL FEATHERBAY, DON
 GLEDHILL, LINDA GLEDHILL, BARB GRIFFIN,                      CASE NO.: 19-CV-00291-TPB-AEP
 JOETTE KELLY, AND CATHY LISKA.,
          Plaintiffs,
 V.

 STEVEN ADLER, ET. AL.,
          Defendants.                                     /

                                          NOTICE OF APPEAL

        Notice is hereby given that Plaintiffs SCHALAMAR CREEK MOBILE HOMEOWNER'S

 ASSOCIATION, INC.    ET. AL.,     SHERRY ATWOOD, JAMES DRISKELL, DON GLEDHILL, LINDA

 GLEDHILL, BARB GRIFFIN, JOETTE KELLY                   AND     CATHY LISKA (all Plaintiffs except Phil

 Featherbay) hereby appeal to the United States Court of Appeals for the Eleventh Circuit from

 the Final Judgment entered in this action on August 11, 2020 [Dkt. 122].

 Date: September 10, 2020

                                             By: /s/ Dineen Pashoukos Wasylik        __.
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                                                                       CASE NO.: 19-CV-00291-TPM-AEP


                                   CERTIFICATE OF SERVICE

        I hereby certify that on September 10, 2020, I electronically filed the foregoing with the

 Clerk of the Court by using the CM/ECF system, which served a copy on the following:

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